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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OFVIRGINIA
                                       Charlottesville Division

       ELIZABETH SINES, et al.,

                          Plaintiffs,                     No. 3:17-cv-00072-NKM

         v.                                               JURY TRIAL DEMANDED

       JASON KESSLER, et al.,

                          Defendants.

           DEFENDANT JEFF SCHOEP AND NATIONAL SOCIALIST MOVEMENT’S
              PRETRIAL DISCLOSURES PURSUANT TO FED. R. CIV. P. 26(a)(3)


              Comes now, Defendants Jeff Schoep and National Socialist Movement (NSM), by and

  through counsel, respectfully submits the following disclosures pursuant to Federal Rule of Civil

  Procedure 26(a)(3) and to the Amended Pretrial Order entered and filed by this Court on July 15,

  2021, ECF 991.

              Defendants Schoep and NSM may call any or all of the following witnesses:

  Witnesses to be called by Defendants Schoep and NSM:

  1.     Defendant Jeff Schoep

  2.     Mr. Rick Eaton,
         Director of Research and Co-Director of Digital Terrorism and Hate Project
         Simon Wiesenthal Center (SWC)
         1399 S Roxbury Dr,
         Los Angeles, CA 90035


              Rick Eaton is a leading expert on both domestic and international extremist groups and

  online hate and terrorism. The SWC closely monitored Defendant Schoep’s role in the NSM as

  well as Defendant NSM’s activities for the past 25+ years. Mr. Eaton is an expert witness to the

  activities of the defendants and how they operated.
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  3.   Deeyah Khan

  4.   Brian Culpepper

  5.   Any witness on plaintiffs’ or any co-defendant’s witness list that has not been otherwise
       objected to by defense counsel.

  6.   Any witnesses necessary for rebuttal or impeachment purposes.



           Defendants reserve the right to supplement or revise these disclosures, prior to the time of

  trial.



  Respectfully submitted September 7, 2021.

                                                /s/ W. Edward ReBrook, IV
                                                W. Edward ReBrook, IV, Esq. (VBA # Bar 84719)
                                                The ReBrook Law Office
                                                6013 Clerkenwell Court
                                                Burke, Virginia 22015
                                                (571) 215-9006 (phone)
                                                edward@rebrooklaw.com

                                                Counsel for Defendants Jeff Schoep, National
                                                Socialist Movement, Nationalist Front, David
                                                Matthew Parrott, Matthew Heimbach, and
                                                Traditionalist Worker Party




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                                    CERTIFICATE OF SERVICE

          I hereby certify that on September 7, 2021, I filed the foregoing with the Clerk of Court

   through the CM/ECF system, which will send a notice of electronic filing to all counsel of record

   in the case, as well as all ECF-registered pro se parties.

          I hereby further certify that on September 7, 2021, I served a copy of the foregoing on the

   following non-ECF pro se parties, via electronic mail, as follows:

   Richard Spencer                                        Robert “Azzmador” Ray
   richardbspencer@icloud.com                             azzmador@gmail.com
   richardbspencer@gmail.com
                                                          Elliott Kline a/k/a Eli Mosley
   Vanguard America                                       eli.f.mosley@gmail.com
   c/o Dillon Hopper                                      deplorabletruth@gmail.com
   dillon_hopper@protonmail.com                           eli.r.kline@gmail.com

          I hereby further certify that on September 7, 2021, I served a copy of the foregoing on the

   following non-ECF pro se party, via first-class mail, as follows:

   Christopher Cantwell (00991-509)
   USP Marion
   U.S. Penitentiary
   P.O. Box 1000
   Marion, IL 62959


                                                  /s/ W. Edward Rebrook, IV
                                                  W. Edward ReBrook, IV, Esq. (VBA #84719)
                                                  The ReBrook Law Office
                                                  6013 Clerkenwell Court
                                                  Burke, Virginia 22015
                                                  (571) 215-9006 (phone)
                                                  edward@rebrooklaw.com

                                                  Counsel for Defendants Jeff Schoep,




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                                             National Socialist Movement,
                                             Nationalist Front, David Matthew
                                             Parrott, Matthew Heimbach, and
                                             Traditionalist Worker Party




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